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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

 WANDA DIXON, INDIVIDUALLY AND                        CIVIL ACTION NO. MDL NO. 2592
 AS PERSONAL REPRESENTATIVE OF
 THE ESTATE OF WILLIAM DIXON
                                                      SECTION: L
Plaintiffs,                                           JUDGE: ELDON E. FALLON
                                                      MAG. JUDGE MICHAEL
v.                                                    NORTH

 JANSSEN RESEARCH & DEVELOPMENT
 LLC f/k/a JOHNSON AND JOHNSON
 PHARMACEUTICAL RESEARCH AND
 DEVELOPMENT LLC, JANSSEN ORTHO                       Member Case No. 2:17-cv-05113
 LLC, JANSSEN PHARMACEUTICALS,
 INC. f/k/a JANSSEN PHARMACEUTICA
 INC. f/k/a ORTHO-MCNEIL-JANSSEN
 PHARMACEUTICALS, INC., JOHNSON &
 JOHNSON COMPANY, BAYER
 HEALTHCARE PHARMACEUTICALS,
 INC., BAYER PHARMA AG, BAYER
 CORPORATION, BAYER HEALTHCARE
 LLC, BAYER HEALTHCARE AG, and
 BAYER AG,

 Defendants.




                                        ORDER OF COURT

              AND NOW, this ______ day of ________________, 2018 it is hereby ordered and

     decreed that Plaintiffs Wanda Dixon, Individually and as Personal Representative of the

     Estate of William Dixon, are granted an additional 30-day extension of time from the date of

     this Order in which to serve Bayer Healthcare Pharmaceuticals Inc. with a Summons and

     Complaint.


                                                      _____________________________
                                                      Honorable Eldon E. Fallon
                                                      United States District Court Judge


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